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To: UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
333 Constitution Ave N.W.
Washington, District of Columbia 20001

FORMAL COMPLAINT
NOTICE OF FELONY

Now, Comes, a real man of flesh and blood, I Rodney-Dale:; Class Private Attorney General,
FORMAL COMPLAINANT NOTICE OF FELONY, acting in the name of We the People
and pursuant to Article VI clause 2 of the Constitution of the United States of America, the
Supremacy clause and the Civil Rights Attorney's Fees Award Act of 1976, Title 42. U.S.C.

§ 1988 & 1983 Civil Rights

CHARGES

1 Violation of the original intent of the 14" Amendment, section three ‘persons’ within the
14" Amendment. The original intent of the Federal Bill of Rights in qualifying for federal
grants and loans.

bo

Violation of the Civil Rights Act of 1964, Title VI section 601-Non-discrimination of
federally assisted programs under the Appalachian Regional Commission, The Highway
Safety Act of 1966, The National Drivers Act of 1982 for states compact as determined in
opinion by the United States Supreme Court:

The United States Supreme Court (359 U.S. 275 at 285)

Interstate Compacts

Article I, section 10 of the United States Constitution grants states the authority to enter into an
“agreement or compact with another state” with the consent of Congress. The constitution
contains no restrictions on the subject matter of a compact and is silent about the process by
which states may enter into compacts, with the exception of the required consent of Congress.
The United States Supreme Court (359 U.S. 275 at 285) opined in 1959 that an interstate
compact is a “contract” protected by the Constitution’s contract clause forbidding a state
legislature to enact a “law impairing the obligation of contracts.”

COUNT |
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Being man made of real flesh and blood United States Attorney Andrew David Finkelman
Or designee, et al, having taken an Oath to support and defend the United States Constitution,
did wilfully and knowingly violate said oath in an open court of Law by failing to timely move to
protect and defend the United States Constitution, that being a felony of perjury of their Oaths of

Office.

CONGRESS DECLARES BIBLE "THE WORD OF GOD Public Law 97-280, 96 stat
1211” Oct 4 1982 & Executive Order 6100 of Sept 22 1990

TITLE 18 > PART I > CHAPTER 79 > § 1621 Perjury generally

Whoever—
(1) having taken an oath before a competent tribunal, officer, or person, in any case in
which a law of the United States authorizes an oath to be administered, that he will testify,
declare. depose, or certify truly, or that any written testimony, declaration, deposition, or
certificate by him subscribed, is true, wilfully and contrary to such oath states or subscribes
any material matter which he does not believe to be true; or
(2) in any declaration, certificate, verification, or statement under penalty of perjury as
permitted under section 1746 of title 28, United States Code, wilfully subscribes as true any
material matter which he does not believe to be true:

is guilty of perjury and shall, except as otherwise expressly provided by law, be fined under this

title or imprisoned not more than five years, or both. This section is applicable whether the

statement or subscription is made within or without the United States.

COUNT II

Being man made of real flesh and blood United States Attorney Andrew David Finkelman
Or designee, owing allegiance to the United States and the United States Constitution, did
wilfully and knowingly give aid and comfort to those et al defendants whose acts are subversive
to the United States and as such are destroying our children, our homes, our churches, our
schools, our business, our contracts, our money system, and our Government. Said acts defined
in the United States Constitution Article II] section 3, is punishable under USC Title 18 sections
3, 4, 2381, 2382, 2383, 2384.

TITLE 18 § 4. Misprision of felony

Whoever, having knowledge of the actual commission of a felony cognizable by a court of the
United States, conceals and does not as soon as possible make known the same to some judge or
other person in civil or military authority under the United States, shall be fined under this title or
imprisoned not more than three years, or both.

TITLE 18 § 2381. Treason
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Whoever, owing allegiance to the United States, levies war against them or adheres to their
enemies, giving them aid and comfort within the United States or elsewhere, is guilty of treason
and shall suffer death, or shall be imprisoned not less than five years and fined under this title but
not less than $10,000; and shall be incapable of holding any office under the United States.

TITLE 18 § 2382. Misprision of treason

Whoever, owing allegiance to the United States and having knowledge of the commission of any
treason against them, conceals and does not, as soon as may be, disclose and make known the
same to the President or to some judge of the United States, or to the governor or to some judge
or justice of a particular State, is guilty of misprision of treason and shall be fined under this title
or imprisoned not more than seven years, or both.

TITLE 18 § 2383. Rebellion or insurrection

Whoever incites, sets on foot, assists, or engages in any rebellion or insurrection against the
authority of the United States or the laws thereof, or gives aid or comfort thereto, shall be fined
under this title or imprisoned not more than ten years, or both; and shall be incapable of holding
any office under the United States.

TITLE 18 § 2384. Seditious conspiracy

If two or more persons in any State or Territory, or in any place subject to the jurisdiction of the
United States, conspire to overthrow, put down, or to destroy by force the Government of the
United States, or to levy war against them, or to oppose by force the authority thereof, or by
force to prevent, hinder, or delay the execution of any law of the United States, or by force to
seize, take, or possess any property of the United States contrary to the authority thereof, they
shall each be fined under this title or imprisoned not more than twenty years, or both.

COUNT Il

Being man made of real flesh and blood United States Attorney Andrew David Finkelman
Or designee, ei al, having taken an oath to support and defend the United States and the United
States Constitution, did wilfully and knowingly violate said oath in an open court of Law by
violating the constitutional Rights of Sovereign American Citizens by not up holding his/her Bill

of Rights which is a felony.

TITLE 18 § 241. Conspiracy against rights

If two or more persons conspire to injure, oppress, threaten, or intimidate any person in any
State, Territory, Commonwealth, Possession, or District in the free exercise or enjoyment of any
right or privilege secured to him by the Constitution or laws of the United States, or because of
his having so exercised the same; or
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If two or more persons go in disguise on the highway, or on the premises of another, with intent
to prevent or hinder his free exercise or enjoyment of any right or privilege so secured—

They shall be fined under this title or imprisoned not more than ten years, or both; and if death
results from the acts committed in violation of this section or if such acts include kidnapping or
an attempt to kidnap, aggravated sexual abuse or an attempt to commit aggravated sexual abuse,
or an attempt to kill, they shall be fined under this title or imprisoned for any term of ycars or for
life, or both, or may be sentenced to death.

TITLE 18 § 242. Deprivation of rights under color of law

Whoever, under color of any law, statute, ordinance, regulation, or custom, wilfully subjects any
person in any State. Territory, Commonwealth, Possession, or District to the deprivation of any
rights, privileges, or immunities secured or protected by the Constitution or laws of the United
States, or to different punishments, pains, or penalties, on account of such person being an alien,
or by reason of his color, or race, than are prescribed for the punishment of citizens, shall be
fined under this title or imprisoned not more than one year, or both; and if bodily injury results
from the acts committed in violation of this section or if such acts include the use, attempted use,
or threatened use of a dangerous weapon, explosives, or fire, shall be fined under this title or
imprisoned not more than ten years, or both; and if death results from the acts committed in
violation of this section or if such acts include kidnapping or an attempt to kidnap, aggravated
sexual abuse, or an attempt to commit aggravated sexual abuse, or an attempt to kill, shall be
fined under this title, or imprisoned for any term of years or for life, or both, or may be sentenced
to death.

COUNT IV
Being man made of real flesh and blood United States Attorney Andrew David Finkelman

Or designee,ct al, for having taken a fraudulent oath as ‘fiduciary trustees’ of a political
subdivision of the state in an assumed position as a private ‘person’ not having immunity or

privilege within the intent of the original 14° Amendment or 11" Amendment standing, did
wilfully and knowingly violate the constitutional Rights of those Citizen electors, from public
offices elected and appointed. hat the entire classification of 14'" Amendment section three
‘persons’ have engaged in section four rebellion and insurrection against Lawful authority and
have created a public debt from said un-Lawful offices and policies.

TITLE 31 SEC. 3729. FALSE CLAIMS
(a) Liability for certain acts.--Any person who--

(1) knowingly presents, or causes to be presented, to an officer or employee of the United States
Government or a member of the Armed Forces of the United States a false or fraudulent claim
for payment or approval;
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(2) knowingly makes, uses, or causes to be made or used, a false record or statement to get a
false or fraudulent claim paid or approved by the Government;

(3) conspires to defraud the Government by getting a false or fraudulent claim allowed or paid;

(4) has possession, custody, or control of property or money used, or to be used, by the
Government and, intending to defraud the Government or wilfully to conceal the property,
delivers, or causes to be delivered, less property than the amount for which the person receives a
certificate or reccipt;

(5) authorized to make or deliver a document certifying receipt of property used, or to be used,
by the Government and, intending to defraud the Government, makes or delivers the receipt
without completely knowing that the information on the receipt is true;

(6) knowingly buys, or receives as a pledge of an obligation or debt, public property from an
officer or employee of the Government, or a member of the Armed Forces, who lawfully may
not sell or pledge the property: or

(7) knowingly makes, uses, or causes to be made or used, a false record or statement to conceal,
avoid. or decrease an obligation to pay or transmit money or property to the Government, is
liable to the United States Government for a civil penalty of not less than $5,000 and not more
than $10,000, plus 3 times the amount of damages which the Government sustains because of the
act of that person, except that if the court finds that—

(A) the person committing the violation of this subsection furnished officials of the United States
responsible for investigating false claims violations with all information known to such person
about the violation within 30 days after the date on which the defendant first obtained the
information;

(B) such person fully cooperated with any Government investigation of such violation; and

(C) at the time such person furnished the United States with the information about the violation,
no criminal prosecution, civil action, or administrative action had commenced under this title
with respect to such violation, and the person did not have actual knowledge of the existence of
an investigation into such violation;

the court may assess not less than 2 times the amount of damages which the Government sustains
because of the act of the person. A person violating this subsection shall also be liable to the
United States Government for the costs of a civil action brought to recover any such penalty or
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damages.

(b) Knowing and knowingly defined.--For purposes of this section, the terms "knowing" and
"knowingly" mean that a person, with respect to information--

(1) has actual knowledge of the information;
(2) acts in deliberate ignorance of the truth or falsity of the information; or

(3) acts in reckless disregard of the truth or falsity of the information, and no proof of specific
intent to defraud is required.

(c) Claim defined.—For purposes of this section, “claim” includes any request or demand,
whether under a contract or otherwise, for money or property which is made to a contractor,
grantee, or other recipient if the United States Government provides any portion of the money or
property which is requested or demanded, or if the Government will reimburse such contractor,
grantee, or other recipient for any portion of the money or property which is requested or
demanded.

(d) Exemption from disclosure-—Any information furnished pursuant to subparagraphs (A)
through (C) of subsection (a) shall be exempt from disclosure under section 552 of title 5.

(e) Exclusion.—This section does not apply to claims, records, or statements made under the
Internal Revenue Code of 1986.

TITLE 18 § 1834. Criminal forfeiture
(3) The court, in imposing sentence on a person for a violation of this chapter, shall order,
in addition to any other sentence imposed, that the person forfeit to the United States—
(4) any property constituting, or derived from, any proceeds the person obtained,
directly or indirectly, as the result of such violation; and
(2) any of the person’s property used, or intended to be used, in any manner or part, to
commit or facilitate the commission of such violation, if the court in its discretion so
determines, taking into consideration the nature, scope, and proportionality of the use
of the property in the offense.
(b) Property subject to forfeiture under this section, any seizure and disposition thereof, and
any administrative or judicial proceeding in relation thereto. shall be governed by section
413 of the Comprehensive Drug Abuse Prevention and Control Act of 1970 (21 U.S.C.
853), except for subsections (d) and (j) of such section, which shall not apply to forfeitures
under this section.
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curiam) (by implication); United States v. Margoles, 294 F.2d 371, 373 (7th Cir.), cert. denied,
368 U.S. 930 (1961);

° United States Attorneys, Jones, supra; United States v. Polakoff, 112 F.2d 888, 890 (2d
Cir.), cert. denied, 311 U.S. 653 (1940);

° United States Bankruptcy Judges, United States v. Fulbright, 69 F.3d 1468 (9th Cir.
1995) (by implication);

e Supreme Court Justices, United States Courts of Appeals Judges, United States
Magistrate Judges, clerks of Federal courts, law clerks to Federal judges, Federal court staff
attorneys. Federal court reporters, Federal prosecutors and defense counsel.

Because 18 U.S.C. § 1503 applies to civil, as well as criminal judicial proceedings, Roberts v.
United States, 239 F.2d 467, 470 (9th Cir. 1956); Sneed v. United States, 298 F. 911, 912 (5th
Cir.), cert. denied, 265 U.S. 590 (1924); see Nye v. United States, 137 F.2d 73 (4th Cir.) (by
implication), cert. denied, 320 U.S. 755 (1943), private attorneys are, arguably, also covered by
the statute.

A venireman is a "petit juror" within the meaning of section 1503. United States v. Jackson, 607
F.2d 1219, 1222 (8th Cir. 1979), cert. denied, 444 U.S. 1080 (1980); see United States v. Osborn,
415 F.2d 1021, 1024 (6th Cir. 1969) (en banc), cert. denied, 396 U.S. 1015 (1970).

The majority of United States Courts of Appeals have held that 18 U.S.C. § 1503 may be used to
charge a defendant with witness tampering. United States v. Moody, 977 F.2d 1420 (11th Cir.
1992), cert. denied, S07 U.S. 944 (1993); United States v. Kenny, 973 F.2d 339 (4th Cir. 1992);
United States v. Branch, 850 F.2d 1080 (5th Cir. 1988), cert. denied, 488 U.S. 1018 (1989);
United States v. Risken, 788 F.2d 1361 (8th Cir.), cert. denied, 479 U.S. 923 (1986); United
States v. Rovetuso, 768 F.2d 809 (7th Cir. 1985), cert. denied, 474 U.S. 1076 (1986); United
States v. Lester, 749 F.2d 1288 (9th Cir. 1984). But see United States v. Masterpol, 940 F.2d 760
(2d Cir. 1991) (construing the 1988 amendment to section 1512 as evidence of Congress's intent
that witnesses were removed entirely from section 1503).

US Attorneys > USAM > Title 9 > Criminal Resource Manual 1724
1724Protection of Government Processes—Omnibus Clause -- 18 U.S.C. § 1503

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The omnibus clause of section 1503 "makes an offense of any proscribed endeavor, without
regard to the technicalities of the law or to the law of impossibility." United States v. Neal, 951
F.2d 630, 632 (Sth Cir. 1992); United States v. Williams, 874 F.2d 968 (Sth Cir. 1989), citing
Osborn v. United States, 385 U.S. 323 (1966). The clause was "intended to cover all endeavors
to obstruct justice" and as such "was drafted with an eye to the variety of corrupt methods by
which the proper administration of justice may be impeded or thwarted, a variety limited only by
the imagination of the criminally inclined." United States v. Neal, 951 F.2d at 632.The principal
limitation to the scope of the omnibus clause is the pending judicial proceeding requirement. See
this Manual at 1722. Courts have given an equally broad reading to the nearly identical, but less

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frequently litigated, omnibus clause of 18 U.S.C. § 1505. See, e.g., United States v. Alo, 439 F.2d
751, 753-54 (2d Cir.), cert. denied, 404 U.S. 850 (1971).

Civil forfeiture

TITLE 18 > PART I > CHAPTER 46 > § 981

§ 981. Civil forfeiture

(a)

(1) The following property is subject to forfeiture to the United States:

(A) Any property, real or personal, involved in a transaction or attempted transaction in violation
of section 1956, 1957 or 1960 of this title, or any property traceable to such property.

(B) Any property, real or personal, within the jurisdiction of the United States, constituting,
derived from, or traceable to, any proceeds obtained directly or indirectly from an offense against
a foreign nation, or any property used to facilitate such an offense, if the offense—

(i) involves trafficking in nuclear, chemical, biological, or radiological weapons technology or
material, or the manufacture, importation, sale, or distribution of a controlled substance (as that
term is defined for purposes of the Controlled Substances Act), or any other conduct described in
section 1956 (c)(7)(B);

(ii) would be punishable within the jurisdiction of the foreign nation by death or imprisonment
for a term exceeding | year; and

(iii) would be punishable under the laws of the United States by imprisonment for a term
exceeding | year, if the act or activity constituting the offense had occurred within the
jurisdiction of the United States.

(C) Any property, real or personal, which constitutes or is derived from proceeds traceable to a
violation of section 215, 471, 472, 473, 474, 476, 477, 478, 479, 480, 481, 485, 486, 487. 488,
501, 502, 510, 542, 545, 656, 657, 842, 844, 1005, 1006, 1007, 1014, 1028, 1029, 1030, 1032, or
1344 of this title or any offense constituting “specified unlawful activity” (as defined in section

1956 (c)(7) of this title), or a conspiracy to commit such offense.

(D) Any property, real or personal, which represents or is traceable to the gross receipts obtained,
directly or indirectly, from a violation of—

(i) section 666 (a)(1) (relating to Federal program fraud);

(ii) section 1001 (relating to fraud and false statements);

(ili) section 1031 (relating to major fraud against the United States);

(iv) section 1032 (relating to concealment of assets from conservator or receiver of insured
financial institution);

(v) section 1341 (relating to mail fraud); or

(vi) section 1343 (relating to wire fraud),

if such violation relates to the sale of assets acquired or held by the Resolution Trust
Corporation, the Federal Deposit Insurance Corporation, as conservator or receiver fora
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financial institution, or any other conservator for a financial institution appointed by the Office
of the Comptroller of the Currency or the Office of Thrift Supervision or the National Credit
Union Administration, as conservator or liquidating agent for a financial institution.

(E) With respect to an offense listed in subsection (a)(1)(D) committed for the purpose of
executing or attempting to execute any scheme or artifice to defraud, or for obtaining money or
property by means of false or fraudulent statements, pretenses, representations or promises, the
gross receipts of such an offense shall include all property, real or personal, tangible or
intangible, which thereby is obtained, directly or indirectly.

(F) Any property, real or personal, which represents or is traceable to the gross proceeds
obtained, directly or indirectly, from a violation of—

(i) section 511 (altering or removing motor vehicle identification numbers);

(ii) section 553 (importing or exporting stolen motor vehicles);

(iii) section 2119 (armed robbery of automobiles);

(iv) section 2312 (transporting stolen motor vehicles in interstate commerce); or

(v) section 2313 (possessing or selling a stolen motor vehicle that has moved in interstate
commerce),

(G) All assets, foreign or domestic—

(i) of any individual, entity, or organization engaged in planning or perpetrating any any “!
Federal crime of terrorism (as defined in section 2332b (g)(5)) against the United States, citizens
or residents of the United States, or their property, and all assets, foreign or domestic, affording
any person a source of influence over any such entity or organization;

(ii) acquired or maintained by any person with the intent and for the purpose of supporting,
planning, conducting, or concealing any Federal crime of terrorism (as defined in section 2332b
(g)(5) @! against the United States, citizens or residents of the United States, or their property;
(iii) derived from, involved in, or used or intended to be used to commit any Federal crime of
terrorism (as defined in section 2332b (g)(5)) against the United States, citizens or residents of
the United States, or their property; or

(iv) of any individual. entity, or organization engaged in planning or perpetrating any act of
international terrorism (as defined in section 2331) against any international organization (as
defined in section 209 of the State Department Basic Authorities Act of 1956 (22 U.S.C. 4309
(b)) or against any foreign Government.'! Where the property sought for forfeiture is located
beyond the territorial boundaries of the United States, an act in furtherance of such planning or
perpetration must have occurred within the jurisdiction of the United States.

(H) Any property, real or personal, involved in a violation or attempted violation, or which
constitutes or is derived from proceeds traceable to a violation, of section 2339C of this title.
(2) For purposes of paragraph (1), the term “proceeds” is defined as follows:

(A) In cases involving illegal goods, illegal services, unlawful activities, and telemarketing and
health care fraud schemes, the term “proceeds” means property of any kind obtained directly or
indirectly, as the result of the commission of the offense giving rise to forfeiture, and any
property traceable thereto, and is not limited to the net gain or profit realized from the offense.
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(B) In cases involving lawful goods or lawful services that are sold or provided in an illegal
manner, the term “proceeds” means the amount of money acquired through the illegal
transactions resulting in the forfeiture, less the direct costs incurred in providing the goods or
services. [he claimant shall have the burden of proof with respect to the issue of direct costs.
The direct costs shall not include any part of the overhead expenses of the entity providing the
goods or services, or any part of the income taxes paid by the entity.

(C) In cases involving fraud in the process of obtaining a loan or extension of credit, the court
shall allow the claimant a deduction from the forfeiture to the extent that the loan was repaid, or
the debt was satisfied, without any financial loss to the victim.

(b)

(1) Except as provided in section 985, any property subject to forfeiture to the United States
under subsection (a) may be seized by the Attorney General and, in the case of property involved
in a violation investigated by the Secretary of the Treasury or the United States Postal Service,
the property may also be seized by the Secretary of the Treasury or the Postal Service,
respectively.

(2) Seizures pursuant to this section shall be made pursuant to a warrant obtained in the same
manner as provided for a search warrant under the Federal Rules of Criminal Procedure, except
that a seizure may be made without a warrant if—

(A) a complaint for forfeiture has been filed in the United States district court and the court
issued an atrest warrant in rem pursuant to the Supplemental Rules for Certain Admiralty and
Maritime Claims:

(B) there is probable cause to believe that the property is subject to forfeiture and—

(i) the seizure is made pursuant to a lawful arrest or search; or

(ii) another exception to the Fourth Amendment warrant requirement would apply; or

(C) the property was lawfully seized by a State or local law enforcement agency and transferred
to a Federal agency.

(3) Notwithstanding the provisions of rule 41(a) of the Federal Rules of Criminal Procedure, a
seizure warrant may be issued pursuant to this subsection by a judicial officer in any district in
which a forfeiture action against the property may be filed under section 1355 (b) of title 28, and
may be executed in any district in which the property is found, or transmitted to the central
authority of any foreign state for service in accordance with any treaty or other international
agreement. Any motion for the return of property seized under this section shall be filed in the
district court in which the seizure warrant was issued or in the district court for the district in
which the property was scized.

(4)

(A) If any person is arrested or charged in a foreign country in connection with an offense that
would give rise to the forfeiture of property in the United States under this section or under the
Controlled Substances Act, the Attorney General may apply to any Federal judge or magistrate
judge in the district in which the property is located for an ex parte order restraining the property
subject to forfeiture for not more than 30 days, except that the time may be extended for good
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cause shown at a hearing conducted in the manner provided in rule 43(e) of the Federal Rules of
Civil Procedure.

(B) The application for the restraining order shall set forth the nature and circumstances of the
foreign charges and the basis for belief that the person arrested or charged has property in the
United States that would be subject to forfeiture, and shall contain a statement that the restraining
order is needed to preserve the availability of property for such time as is necessary to receive
evidence from the foreign country or elsewhere in support of probable cause for the seizure of
the property under this subsection.

(c) Property taken or detained under this section shall not be repleviable, but shall be deemed to
be in the custody of the Attorney General. the Secretary of the Treasury, or the Postal Service, as
the case may be, subject only to the orders and decrees of the court or the official having
jurisdiction thereof. Whenever property is seized under this subsection, the Attorney General, the
Secretary of the Treasury, or the Postal Service, as the case may be, may—

(1) place the property under seal;

(2) remove the property to a place designated by him; or

(3) require that the General Services Administration take custody of the property and remove it,
if practicable, to an appropriate location for disposition in accordance with law.

(d) For purposes of this section, the provisions of the customs laws relating to the seizure,
summary and judicial forfeiture, condemnation of property for violation of the customs laws, the
disposition of such property or the proceeds from the sale of such property under this section, the
remission or mitigation of such forfeitures, and the compromise of claims (19 U.S.C. 1602 et
seq.), insofar as they are applicable and not inconsistent with the provisions of this section, shall
apply to seizures and forfeitures incurred, or alleged to have been incurred, under this section,
except that such duties as are imposed upon the customs officer or any other person with respect
to the seizure and forfeiture of property under the customs laws shall be performed with respect
to seizures and forfeitures of property under this section by such officers, agents, or other
persons as may be authorized or designated for that purpose by the Attorney General, the
Secretary of the Treasury, or the Postal Service, as the case may be. The Attorney General shall
have sole responsibility for disposing of petitions for remission or mitigation with respect to
property involved in a judicial forfeiture proceeding.

(e) Notwithstanding any other provision of the law, except section 3 of the Anti Drug Abuse Act
of 1986, the Attorney General, the Secretary of the Treasury, or the Postal Service. as the case
may be, is authorized to retain property forfeited pursuant to this section, or to transfer such
property on such terms and conditions as he may determine—

(1) to any other Federal agency;

(2) to any State or local law enforcement agency which participated directly in any of the acts
which led to the seizure or forfeiture of the property;

(3) in the case of property referred to in subsection (a)(1)(C), to any Federal financial institution
regulatory agency —

(A) to reimburse the agency for payments to claimants or creditors of the institution; and
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(B) to reimburse the insurance fund of the agency for losses suffered by the fund as a result of
the receivership or liquidation;

(4) in the case of property referred to in subsection (a)(1)(C), upon the order of the appropriate
Federal financial institution regulatory agency, to the financial institution as restitution, with the
value of the property so transferred to be set off against any amount later recovered by the
financial institution as compensatory damages in any State or Federal proceeding;

(5) in the case of property referred to in subsection (a)(1)(C), to any Federal financial institution
regulatory agency, to the extent of the agency’s contribution of resources to, or expenses
involved in, the seizure and forfeiture, and the investigation leading directly to the seizure and
forfeiture, of such property;

(6) as restoration to any victim of the offense giving rise to the forfeiture, including, in the case
of a money laundering offense, any offense constituting the underlying specified unlawful
activity; or

(7) In ©! the case of property referred to in subsection (a)(1)(D), to the Resolution Trust
Corporation, the Federal Deposit Insurance Corporation, or any other Federal financial
institution regulatory agency (as defined in section 8(e)(7)(D) of the Federal Deposit Insurance
Act).

The Attorney General, the Secretary of the Treasury, or the Postal Service, as the case may be,
shall ensure the equitable transfer pursuant to paragraph (2) of any forfeited property to the
appropriate State or local law enforcement agency so as to reflect generally the contribution of
any such agency participating directly in any of the acts which led to the seizure or forfeiture of
such property. A decision by the Attorney General, the Secretary of the Treasury, or the Postal
Service pursuant to paragraph (2) shall not be subject to review. The United States shall not be
liable in any action arising out of the use of any property the custody of which was transferred
pursuant to this section to any non-Federal agency. The Attorney General, the Secretary of the
Treasury, or the Postal Service may order the discontinuance of any forfeiture proceedings under
this section in favor of the institution of forfeiture proceedings by State or local authorities under
an appropriate State or local statute. After the filing of a complaint for forfeiture under this
section, the Attorney General may seek dismissal of the complaint in favor of forfeiture
proceedings under State or local law. Whenever forfeiture proceedings are discontinued by the
United States in favor of State or local proceedings, the United States may transfer custody and
possession of the seized property to the appropriate State or Jocal official immediately upon the
initiation of the proper actions by such officials. Whenever forfeiture procecdings are
discontinued by the United States in favor of State or local proceedings, notice shall be sent to all
known interested parties advising them of the discontinuance or dismissal. The United States
shall not be hable in any action arising out of the seizure, detention, and transfer of seized
property to State or local officials. The United States shall not be liable in any action arising out
of a transfer under paragraph (3), (4), or (5) of this subsection.

(f) All right, title, and interest in property described in subsection (a) of this section shal! vest in
the United States upon commission of the act giving rise to forfeiture under this section.
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(g)

(1) Upon the motion of the United States, the court shall stay the civil forfeiture proceeding if the
court determines that civil discovery will adversely affect the ability of the Government to
conduct a related criminal investigation or the prosecution of a related criminal case.

(2) Upon the motion of a claimant, the court shall stay the civil forfeiture proceeding with
respect to that claimant if the court determines that—

(A) the claimant is the subject of a related criminal investigation or case;

(B) the claimant has standing to assert a claim in the civil forfeiture proceeding; and

(C) continuation of the forfeiture proceeding will burden the right of the claimant against self-
incrimination in the related investigation or case.

(3) With respect to the impact of civil discovery described in paragraphs (1) and (2), the court
may determine that a stay is unnecessary if a protective order limiting discovery would protect
the interest of one party without unfairly limiting the ability of the opposing party to pursue the
civil case. In no case, however, shall the court impose a protective order as an alternative to a
stay if the effect of such protective order would be to allow one party to pursue discovery while
the other party is substantially unable to do so.

(4) In this subsection, the terms “related criminal case” and “related criminal investigation” mean
an actual prosecution or investigation in progress at the time at which the request for the stay, or
any subsequent motion to lift the stay is made. In determining whether a criminal case or
investigation is “related” to a civil forfeiture proceeding, the court shall consider the degree of
similarity between the parties, witnesses, facts, and circumstances involved in the two
proceedings, without requiring an identity with respect to any one or more factors.

(5) In requesting a stay under paragraph (1), the Government may, in appropriate cases, submit
evidence ex parte in order to avoid disclosing any matter that may adversely affect an ongoing
criminal investigation or pending criminal trial.

(6) Whenever a civil forfeiture proceeding is stayed pursuant to this subsection, the court shall
enter any order necessary to preserve the value of the property or to protect the rights of
lienholders or other persons with an interest in the property while the stay is in effect.

(7) A determination by the court that the claimant has standing to request a stay pursuant to
paragraph (2) shall apply only to this subsection and shall not preclude the Government from
objecting to the standing of the claimant by dispositive motion or at the time of trial.

(h) In addition to the venue provided for in section 1395 of title 28 or any other provision of law,
in the case of property of a defendant charged with a violation that is the basis for forfciture of
the property under this section, a proceeding for forfeiture under this section may be brought in
the judicial district in which the defendant owning such property is found or in the judicial
district in which the criminal prosecution is brought.

(i)

(1) Whenever property is civilly or criminally forfeited under this chapter, the Attorney General
or the Secretary of the Treasury, as the case may be. may transfer the forfeited personal property
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or the proceeds of the sale of any forfeited personal or real property to any foreign country which
participated directly or indirectly in the seizure or forfeiture of the property, if such a transfer—
(A) has been agreed to by the Secrctary of State;

(B) is authorized in an international agreement between the United States and the foreign
country; and

(C) is made to a country which, if applicable, has been certified under section 481(h) 4) of the
Foreign Assistance Act of 1961.

A decision by the Attorney General or the Secretary of the Treasury pursuant to this paragraph
shall not be subject to review. The foreign country shall, in the event of a transfer of property or
proceeds of sale of property under this subsection, bear all expenses incurred by the United
States in the seizure, maintenance, inventory, storage, forfeiture, and disposition of the property,
and all transfer costs. The payment of all such expenses, and the transfer of assets pursuant to
this paragraph, shall be upon such terms and conditions as the Attorney General or the Secretary
of the Treasury may, in his discretion, set.

(2) The provisions of this section shall not be construed as limiting or superseding any other
authority of the United States to provide assistance to a foreign country in obtaining property
related to a crime committed in the foreign country, including property which is sought as
evidence of a crime committed in the foreign country.

(3) A certified order or judgment of forfeiture by a court of competent jurisdiction of a foreign
country concerning property which is the subject of forfeiture under this section and was
determined by such court to be the type of property described in subsection (a)(1)(B) of this
section, and any certified recordings or transcripts of testimony taken in a foreign judicial
proceeding concerning such order or judgment of forfeiture, shall be admissible in evidence ina
proceeding brought pursuant to this section. Such certified order or judgment of forfeiture. when
admitted into evidence, shall constitute probable cause that the property forfeited by such order
or judgment of forfeiture is subject to forfeiture under this section and creates a rebuttable
presumption of the forfeitability of such property under this section.

(4) A certified order or judgment of conviction by a court of competent jurisdiction of a foreign
country concerning an unlawful drug activity which gives rise to forfeiture under this section and
any certified recordings or transcripts of testimony taken in a foreign judicial proceeding
concerning such order or judgment of conviction shall be admissible in evidence in a proceeding
brought pursuant to this section. Such certified order or judgment of conviction. when admitted
into evidence, creates a rebuttable presumption that the unlawful drug activity giving rise to
forfeiture under this section has occurred.

(5) The provisions of paragraphs (3) and (4) of this subsection shall not be construed as limiting
the admissibility of any evidence otherwise admissible, nor shall they limit the ability of the
United States to establish probable cause that property is subject to forfeiture by any evidence
otherwise admissible.

(j) For purposes of this section—

(1) the term “Attorney General” means the Attorney General or his delegate; and
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(2) the term “Secretary of the Treasury” means the Secretary of the Treasury or his delegate.

(k) Interbank Accounts.—

(1) In general.—

(A) In general.— For the purpose of a forfeiture under this section or under the Controlled
Substances Act (21 U.S.C. 801 et seq.), if funds are deposited into an account at a foreign
financial institution (as defined in section 984 (c)(2)(A) of this title), and that foreign financial
institution (as defined in section 984 (c)(2)(A) of this title) has an interbank account in the
United States with a covered financial institution (as defined in section 5318 ({)(.) of title 31),
the funds shall be deemed to have been deposited into the interbank account in the United States,
and any restraining order, seizure warrant, or arrest warrant in rem regarding the funds may be
served on the covered financial institution, and funds in the interbank account, up to the value of
the funds deposited into the account at the foreign financial institution (as defined in section 984
(c)(2)(A) of this title), may be restrained, scized, or arrested.

(B) Authority to suspend.— The Attorney General, in consultation with the Secretary of the
Treasury, may suspend or terminate a forfeiture under this section if the Attorney General
determines that a conflict of law exists between the laws of the jurisdiction in which the foreign
financial institution (as defined in section 984 (c)(2)(A) of this title) is located and the laws of
the United States with respect to liabilities arising from the restraint, seizure, or arrest of such
funds, and that such suspension or termination would be in the interest of justice and would not
harm the national interests of the United States.

(2) No requirement for government to trace funds.— If a forfeiture action is brought against
funds that are restrained, seized, or arrested under paragraph (1), it shall not be necessary for the
Government to establish that the funds are directly traceable to the funds that were deposited into
the foreign financial institution (as defined in section 984 (c)(2)(A) of this title), nor shall it be
necessary for the Government to rely on the application of section 984.

(3) Claims brought by owner of the funds.— If a forfeiture action is instituted against funds
restrained, seized, or arrested under paragraph (1), the owner of the funds deposited into the
account at the foreign financial institution (as defined in section 984 (c)(2)(A) of this title) may
contest the forfeiture by filing a claim under section 983.

(4) Definitions.— For purposes of this subsection, the following definitions shall apply:

(A) Interbank account.— The term “interbank account” has the same meaning as in section 984
(c)(2)(B).

(B) Owner.—

(i) In general.— Except as provided in clause (ii), the term “owner’—

(I) means the person who was the owner, as that term is defined in section 983(d)(6), of the
funds that were deposited into the foreign financial institulion (as defined in section 984
(c)(2)(A) of this title) at the time such funds were deposited; and

(II) does not include either the foreign financial institution (as defined in section 984 (c)(2)(A) of
this title) or any financial institution acting as an intermediary in the transfer of the funds into the
interbank account.
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(ii) Exception.— The foreign financial institution (as defined in section 984 (c)(2)(A) of this
title) may be considered the “owner” of the funds (and no other person shall! qualify as the owner
of such funds) only if—

(I) the basis for the forfeiture action is wrongdoing committed by the foreign financial institution
(as defined in section 984 (c)(2)(A) of this title); or

(If) the foreign financial institution (as defined in section 984 (c)(2)(A) of this title) establishes,
by a preponderance of the evidence, that prior to the restraint, seizure, or arrest of the funds, the
foreign financial institution (as defined in section 984 (c)(2)(A) of this title) had discharged all or
part of its obligation to the prior owner of the funds, in which case the foreign financial
institution (as defined in section 984 (c)(2\(A) of this title) shall be deemed the owner of the
funds to the extent of such discharged obligation.

COUNT VI

Being man made of real flesh and blood United States Attorney Andrew David Finkelman
Or designee, et al , or any other Judicial Officer / Administrative Officer, Attorney / Esquire,

Law Enforcement Officer or any other who hold a public office of trust having taken an oath to
support and defend the United States Constitution, and the statutes of the United States and of
this State and violate or over rule Congressional Enactment or any Judicial Procedure Manual
created by Congress or the America Bar Association as Court Procedure and the Rules of Court
or over rule any Higher Courts decisions to denial equal protection under 42 USC 1981 the 14"
amendment with intent to deny fairness and court integrity by violation of 18 USC 1581
Peonage; obstructing enforcement or means of Obstruction of Justice of the Law and making
law from that position by violating 28 USC 454 & 455 and the Bill of Rights of American
Citizens by not up holding his/her constitutional Rights which is a felony are guilty of.

TITLE 18 USC > PART I > CHAPTER 93 > § 1918

Sec. 1918. Disloyalty and asserting the right to strike against the
Government

Whoever violates the provision of section 7311 of title 5 that an
individual may not accept or hold a position in the Government of
the United States or the government of the District of Columbia if
he -

(1) advocates the overthrow of our constitutional form of
government;

(2) is a member of an organization that he knows advocates the
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overthrow of our constitutional form of government;

(3) participates in a strike, or asserts the right to strike,
against the Government of the United States or the government of
the District of Columbia; or

(4) is a member of an organization of employees of the
Government of the United States or of individuals employed by the
government of the District of Columbia that he knows asserts the
right to strike against the Government of the United States or
the government of the District of Columbia;

shall be fined under this title or imprisoned not more than one
year and a day, or both.

TITLE 5 > PART II > Subpart F > CHAPTER 73 > SUBCHAPTER II > § 7311

§ 7311. Loyalty and striking

An individual may not accept or hold a position in the Government of the United States or the
government of the District of Columbia if he-—

(1) advocates the overthrow of our constitutional form of government;

(2) is a member of an organization that he knows advocates the overthrow of our constitutional
form of government;

(3) participates in a strike, or asserts the right to strike, against the Government of the United
States or the government of the District of Columbia; or

(4) is a member of an organization of employees of the Government of the United States or of
individuals employed by the government of the District of Columbia that he knows asserts the
right to strike against the Government of the United States or the government of the District of
Columbia.

DEMAND FOR ARREST

Pursuant to the Laws of the United States, We the People DEMAND the arrest of the above
named felons.

Pursuant to the statutes herein, in particular the Laws of the United States in general, We the
People DEMAND that you pursue and prosecute ALL ET AL offenders that have violated their
Oath of Office and the Laws of the United States.

DEMAND FOR SEIZURE OF EVIDENCE

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Pursuant to the Laws of the United States, We the People DEMAND the seizure and impound of
ALL books, records and fraudulent claims made by the fictitious plaintiff, THE STATE OF
NORTH CAROLINA on the account of ALL municipalities, Counties/Townships as evidence of
the ongoing felony.

WARNING
Should any person try to cover up the felony complained of herein, BE YOU HEREBY PUT ON
NOTICE: You may be indicted under USC Title 18 sections 3, 4, 241, 242, 1918, 2381, 2382,
2383, 2384 and 5 USC 7311.

COMPLAINANT, being first truly sworn, states that he has knowledge of the felonies herein
complained of: that it is not submitted to be vexatious, but to obtain imperative JUSTICE.

PRIVATE ATTORNEY GENERAL AUTHORITIES

TITLE 31 > SUBTITLE UI > CHAPTER 37 > SUBCHAPTER III > § 3729

§ 3729. False claims

(a) Liability for Certain Acts.— Any person who—

(1) knowingly presents, or causes to be presented, to an officer or employee of the United States
Government or a member of the Armed Forces of the United States a false or fraudulent claim
for payment or approval;

(2) knowingly makes, uses. or causes to be made or used, a false record or statement to get a
false or fraudulent claim paid or approved by the Government;

(3) conspires to defraud the Government by getting a false or fraudulent claim allowed or paid;
(4) has possession, custody, or control of property or money used, or to be used, by the
Government and, intending to defraud the Government or willfully to conceal the property.
delivers, or causes to be delivered, less property than the amount for which the person receives a
certificate or receipt:

(5) authorized to make or deliver a document certifying receipt of property used, or to be used,
by the Government and, intending to defraud the Government, makes or delivers the receipt
without completely knowing that the information on the receipt is true;

(6) knowingly buys, or receives as a pledge of an obligation or debt, public property {rom an
officer or employee of the Government, or a member of the Armed Forces, who lawfully may
not sell or pledge the property: or
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(7) knowingly makes. uses, or causes to be made or used, a false record or statement to conceal,
avoid, or decrease an obligation to pay or transmit money or property to the Government,

is liable to the United States Government for a civil penalty of not less than $5,000 and not more
than $10,000, plus 3 times the amount of damages which the Government sustains because of the
act of that person, except that if the court finds that—

(A) the person committing the violation of this subsection furnished officials of the United States
responsible for investigating false claims violations with all information known to such person
about the violation within 30 days after the date on which the defendant first obtained the
information:

(B) such person fully cooperated with any Government investigation of such violation; and

(C) at the time such person furnished the United States with the information about the violation,
no criminal prosecution, civil action, or administrative action had commenced under this title
with respect to such violation, and the person did not have actual knowledge of the existence of
an investigation into such violation;

the court may assess not less than 2 times the amount of damages which the Government sustains
because of the act of the person. A person violating this subsection shall also be liable to the
United States Government for the costs of a civil action brought to recover any such penalty or
damages.

(b) Knowing and Knowingly Defined.— For purposes of this section, the terms “knowing” and
“knowingly” mean that a person, with respect to information—

(1) has actual knowledge of the information;

(2) acts in deliberate ignorance of the truth or falsity of the information; or

(3) acts in reckless disregard of the truth or falsity of the information,

and no proof of specific intent to defraud is required.

(c) Claim Defined.— For purposes of this section, “claim” includes any request or demand,
whether under a contract or otherwise, for money or property which is made to a contractor,
grantee, or other recipient if the United States Government provides any portion of the money or
property which is requested or demanded, or if the Government will reimburse such contractor,
grantee, or other recipient for any portion of the money or property which is requested or
demanded.

(d) Exemption From Disclosure.— Any information furnished pursuant to subparagraphs (A)
through (C) of subsection (a) shall be exempt from disclosure under section 552 of title 5.

(e) Execlusion.— This section does not apply to claims, records, or statements made under the
Internal Revenue Code of 1986.

TITLE 42 > CHAPTER 21 > SUBCHAPTER I> § 1988

§ 1988. Proceedings in vindication of civil rights

(a) Applicability of statutory and common law
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The jurisdiction in civil and criminal matters conferred on the district courts by the provisions of
titles 13, 24, and 70 of the Revised Statutes for the protection of all persons in the United States
in their civil rights, and for their vindication, shall be exercised and enforced in conformity with
the laws of the United States, so far as such laws are suitable to carry the same into effect; but in
all cases where they are not adapted to the object, or are deficient in the provisions necessary to
furnish suitable remedies and punish offenses against law, the common law, as modified and
changed by the constitution and statutes of the State wherein the court having jurisdiction of such
civil or criminal cause is held, so far as the same is not inconsistent with the Constitution and
laws of the United States, shall be extended to and govern the said courts in the trial and
disposition of the cause, and, if it is of a criminal nature, in the infliction of punishment on the
party found guilty.

(b) Attorney’s fees

In any action or proceeding to enforce a provision of sections 1981, 1981a, 1982, 1983, 1985,
and 1986 of this title, title [IX of Public Law 92-318 [20 U.S.C. 1681 et seq.], the Religious
Freedom Restoration Act of 1993 [42 U.S.C. 2000bb et seq.], the Religious Land Use and
Institutionalized Persons Act of 2000 [42 U.S.C. 2000cc et seq.], title VI of the Civil Rights Act
of 1964 [42 U.S.C. 2000d et seq.], or section 13981 of this title, the court, in its discretion, may
allow the prevailing party, other than the United States, a reasonable attorney’s fee as part of the
costs, except that in any action brought against a judicial officer for an act or omission taken in

such officer’s judicial capacity such officer shall not be held liable for any costs, including
attorney’s fees, unless such action was clearly in excess of such officer’s jurisdiction.

(c) Expert fees

In awarding an attorney’s fee under subsection (b) of this section in any action or proceeding to
enforce a provision of section 1981 or 1981a of this title, the court, in its discretion, may include

expert fees as part of the attorney’s fee.

TITLE 42 > CHAPTER 21 > SUBCHAPTER I > § 1983

§ 1983. Civil action for deprivation of rights

Every person who, under color of any statute, ordinance, regulation, custom, or usage, of any
State or Territory or the District of Columbia, subjects, or causes to be subjected, any citizen of
the United States or other person within the jurisdiction thereof to the deprivation of any rights,
privileges, or immunities secured by the Constitution and laws, shall be liable to the party injured
in an action at law, suit in equity, or other proper proceeding for redress, except that in any
action brought against a judicial officer for an act or omission taken in such officer’s judicial
capacity, injunctive relief shall not be granted unless a declaratory decree was violated or
declaratory relief was unavailable. For the purposes of this section, any Act of Congress
applicable exclusively to the District of Columbia shall be considered to be a statute of the
District of Columbia.
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Private Attorney General x bn, tl fee

Date: 2-/ -AO/ Y

Live thumb print

Private Attorney General SEAL

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Affidavit of Declaration of Complaint

I, Rodney-Dale; Class, being BY Congressional Enactment AS a Private Attorney
General And BY Congressional Enactment as a Constitutional Bounty Hunter and being a real
man of flesh and blood being of age, over 21, and with the best of my knowledge and my
understanding do here declare that the foregoing statements are the truth.

On or about May 30th 2013, I, Rodney-Dale; Class, having firsthand knowledge and
witnessed acts of advocating the overthrow of the United States Constitution and of the Laws of
the United States in Washington, D.C. by those employed under the United States government in
Washington, D.C., hired to protect and serve and to defend and uphold the Constitution, did
witness actions by the Capitol Hill Police acting in a manner with total disregard and with willful
intent and with malice did act in a manner of overthrowing the Constitution of the United States
and the protected rights of one of the People and did so “under color of law.”

I, Rodney-Dale; Class, having firsthand knowledge and did witness on or about June 3,
2013 that the District of Columbia codes handed to me by court officers do advocate the
overthrow of protected rights under the Constitution and that such codes were created by those
public officials in charge of the District of Columbia and did with full knowledge of law,
knowing that they did take an oath to the Constitution, did advocate codes that are in conflict and
did advocate to overthrow the protected rights of the citizens of the District of Columbia as well
as one of the People that travels to Washington, D.C.

I, Rodney-Dale; Class, having firsthand knowledge on or about October 8, 2013 did
witness United States Attorney Andrew David Finkelman, holding public office and required to
swear an oath to the Constitution, advocating the overthrow of protected rights under the

Constitution and the Laws of the United States and “under color of law” depriving RODNEY
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DALE CLASS (Government Registered Trade Name Ward , Trust .Estate Joint Stock Share) and
Rodney-Dale; Class of liberty and protected rights secured by the Constitution and the laws of
the United States with willful intent to do harm and injury with disregard of the laws of the
United States and to the Constitution and the Bill of Rights under protected rights in the
UNITED STATES DISTRICT COURT OF THE DISTRICT OF COLUMBIA in front of Judge
Robert L Wilkins and U.S. Marshals and the Public Defenders Counsel for RODNEY DALE
CLASS (Government Registered Trade Name) and Rodney-Dale; Class.

I, Rodney-Dale; Class, having firsthand knowledge on or about 2/ 10/2014 Peter Lallas
holding public office and required to swear an oath to the Constitution, advocating the overthrow
of protected rights under the Constitution and the Laws of the United States and “under color of
law” depriving RODNEY DALE CLASS (Government Registered Trade Name) and Rodney-
Dale; Class of liberty and protected rights secured by the Constitution and the laws of the United
States with willful intent to do harm and injury with disregard of the laws of the United States
and to the Constitution and the Bill of Rights under protected rights in the UNITED STATES
DISTRICT COURT OF THE DISTRICT OF COLUMBIA.

I, Rodney Dale Class set forth at no time did the District of Columbia post signs that
warned the people of it Firearm laws. That would allow them to turn them in to the local Police
Department while in town and then be able to pick them up once they get ready to leave the
District of Columbia to continue their traveling thru.

I, Rodney-Dale; Class, having firsthand knowledge, testify under penalties of perjury
that the foregoing statements. above, to the best of my ability are accurate and true and that such
violations by those holding public office and their agents in Washington, D.C., under sworn oath

to uphold and defend the Constitution, did, in fact, happen and that they were unmindful of the
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high duties of their office to the people of the United States of America and of their oath in
violation of the Constitution, and did set out to deprive RODNEY DALE CLASS (Government
Registered Trade Name) and Rodney-Dale; Class of his liberty by conspiracy and with full
knowledge of the law, and did advocate and undermine the integrity of that public office in acts
of levying War against the U.S. Constitution and did act in a manner to advocate an insurrection
against protected rights given to the people by the Constitution and the Bill of Rights.

Iam areal man of flesh and blood and hold position as a Private Attorney General and
a Constitutional Bounty Hunter under the 14th Amendment and the Bounty Hunter
Responsibility Act of 1999 and 2005 as created by and under the legislative duties of the United
States Congress set forth this Affidavit of Declaration of Complaint and I hereby place my seals
to validate this claim as being true to the best of my knowledge as these are the written laws by

flesh and blood men and women who hold public office.

Rodney-Dale; Class live thumb print

Private Attorney General £s
432 North Lincoln Street
High Shoals N.C. 28077

Bounty Hunter Seal

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PROOF OF SERVICE

Now Comes Rodney—Dale; Class, a real man of flesh and blood, by Congressional
Legislation under the Statutes at Large and by United States Codes created by the United States
Congress within the District of Columbia Territory, in the position of Private Attorney General
and Bounty Hunter and sets forth this document to hopefully be read and acted upon by an
honorable, flesh and blood, man or woman to afford the Declarant remedy: TAKE JUDICIAL
NOTICE FOR REQUIREMENT FOR AN ARTICLE IIT HEARING FOR AN FORMAL
COMPLAINT OF ULTRA VIRES MISS BEHAVIOR WITH ATTACHMENTS. This document
was sent to the UNITED STATES DISTRICT COURT OF THE DISTRICT OF COLUMBIA
Clerk of Courts on this 2/79 day of February in the year of our Lord 2014 A.D. Rodney—Dale:
Class, also delivered a copy to the Prosecution’,

fob Ud Cle

Rodney-Dale; Class
Private Attorney General
432 North Lincoln Street
High Shoals N.C.
itconstitutional@aol.com

Ce

PETER LALLAS (Or designee)

ASSISTANT UNITED STATES ATTORNEY
555 4TH STREET, N.W., ROOM 4110
WASHINGTON, DC 20530

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